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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

MATTHEW BEAHM, individually and on               §
behalf of all others similarly situated,         §            Case No. 1:16-CV-00491
                                                 §
v.                                               §          JURY TRIAL DEMANDED
                                                 §
ONE WAY FUNDING, LLC                             §

                 NOTICE OF DISMISSAL WITHOUT PREJUDICE AS TO
             DEFENDANT ONE WAY FUNDING, LLC PURSUANT TO RULE 41(a)

       COMES NOW, MATTHEW BEAHM (“Plaintiff”), giving notice of voluntary dismissal

of ONE WAY FUNDING, LLC (“OWF”) without prejudice, and would show as follows:

       1. Plaintiff filed his complaint on April 9, 2016.

       2. OWF failed to answer or otherwise respond by the response deadline. Accordingly,

Plaintiff moved for a clerks default on June 9, 2016. The clerk entered a default on that same day.

       3. The parties are in the process of negotiating a resolution of this matter and do not wish

to keep this case on the Court’s docket.

       4. OWF has neither answered Plaintiff’s Complaint, nor has OWF filed a motion for

summary judgment.

       5. Accordingly, pursuant to FED. R. CIV. P 41(a), OWF may be dismissed without

prejudice and without an Order of the Court.
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Dated: December 5, 2016               Respectfully submitted,
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